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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.                                           Criminal Action No. 2:00CR7-09
                                                                      (STAMP)
  SHAUN A. BROOKS,

               Defendant.


               ORDER DENYING DEFENDANT’S MOTION PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 60(b)(6)

        On July 18, 2005, the defendant, Shaun A. Brooks, filed a

  motion for this Court to amend his sentence pursuant to Federal

  Rule of Civil Procedure 60(b)(6). The defendant seeks relief based

  on the ruling of the Supreme Court of the United States in Blakely

  v. Washington, 124 S. Ct. 2531 (2004). Specifically, the defendant

  challenges the drug quantity that was used to compute his sentence

  on   the   grounds    that   it    exceeds    the   amount     charged    in     his

  Indictment.    In response, the government argues that the defendant

  challenged    the    relevant     conduct    in   his   case   at   the   time    of

  sentencing and his objection was overruled by this Court.                        The

  government also states that the defendant previously filed a 28

  U.S.C. § 2255 and a letter motion for reduction of sentence, which

  were both denied.1     The government asserts that the present motion

  is essentially seeking relief under 28 U.S.C. § 2255. Because this


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        On July 3, 2003, this Court entered a memorandum opinion and
  order affirming the report and recommendation denying the motion to
  vacate under 28 U.S.C. § 2255. On July 5, 2003, this Court entered
  an order denying defendant’s letter motion for reduction of
  sentence.
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  would serve as a successive § 2255 motion for the defendant, the

  government asserts that the defendant must seek an order from the

  United States Court of Appeals for the Fourth Circuit authorizing

  this Court to consider his motion. The defendant has not requested

  such   an   order   from   the   Fourth   Circuit   and,   therefore,    the

  government contends that this Court must dismiss the defendant’s

  motion.

         Federal Rule of Civil Procedure 60(b) provides relief from a

  judgment based on:

         (1) mistake, inadvertence, surprise, or excusable
         neglect; (2) newly discovered evidence which by due
         diligence could not have been discovered in time to move
         for a new trial under Rule 59(b); (3) fraud (whether
         heretofore   denominated    intrinsic   or   extrinsic),
         misrepresentation, or other misconduct of an adverse
         party; (4) the judgment is void; (5) the judgment has
         been satisfied, released, or discharged, or a prior
         judgment upon which it is based has been reversed or
         otherwise vacated, or it is no longer equitable that the
         judgment should have prospective application; or (6) any
         other reason justifying relief from the operation of the
         judgment.

  Fed. R. Civ. P. 60(b).

         The Fourth Circuit has held that Rule 60(b) motions should be

  treated as successive applications for post-conviction relief under

  28 U.S.C. § 2255 when they present claims that are “equivalent to

  additional habeas claims.”       Hunt v. Nuth, 57 F.3d 1327, 1339 (4th

  Cir. 1995).    In United States v. Winestock, 340 F.3d 200 (4th Cir.

  2003), the Fourth Circuit further mandated that “district courts

  must treat Rule 60(b) motions as successive collateral review

  applications when failing to do so would allow the applicant to



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  ‘evade the bar against relitigation of claims presented in a prior

  application or the bar against litigation of claims not presented

  in a prior application.’” Id. at 206 (citing Calderon v. Thompson,

  523 U.S. 538, 553 (1998)(holding that courts must not allow

  prisoners to circumvent the strict requirements of 28 U.S.C.

  §§ 2254 and 2255 by attaching labels to petitions other than

  “successive application” for post-conviction relief)).

        The Winestock court also described the method that courts

  should use to distinguish proper motions under Rule 60(b) from

  “‘successive [applications] in 60(b)’s clothing.’”              Id. at 207

  (quoting Lazo v. United States, 314 F.3d 571, 573 (11th Cir. 2002)

  (per curiam)).     The Court stated that

        a relatively straightforward guide is that a motion
        directly attacking the prisoner’s conviction or sentence
        will usually amount to a successive application, while a
        motion seeking a remedy for some defect in a collateral
        review process will generally be deemed a proper motion
        to   reconsider.  Thus,   a   brand-new,   free-standing
        allegation of constitutional error in the underlying
        criminal judgment will virtually always implicate the
        rules governing successive applications.

  Id.

        The defendant’s motion is challenging the legality of his

  sentence and not to remedy a defect in the collateral review

  process.    Thus, his claim cannot stand unless properly brought as

  a successive application for relief under 28 U.S.C. § 2255.              For

  this reason, the defendant’s Rule 60(b)(6) motion must be DENIED.

        Should the defendant choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,



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  he is ADVISED that he must file a notice of appeal with the Clerk

  of this Court within thirty days after the date of the entry of the

  judgment order.      Upon reviewing the notice of appeal, this Court

  will either issue a certificate of appealability or state why a

  certificate should not issue in accordance with Federal Rule of

  Appellate    Procedure    22(b)(1).       If   this   Court   should   deny   a

  certification, the defendant may request a circuit judge of the

  United States Court of Appeals for the Fourth Circuit to issue the

  certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  defendant and to counsel of record herein.

        DATED:      December 30, 2005



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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